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EXHIBIT 1
Case 1:24-cv-00040-EAW-MJR Document 353-5 Filed 05/06/24 Page 2 of 4

Reports Senings e Joseph O'Donnell

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Refund Reason: | (Select) vif ]
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Alias: Program Length: [ a5 ~ | [as
DOB / SSN: [oar JI Program Payment: ($590.19. | nm.
OL / Stave: { \{ Income Validation: {$1,635.81 | f
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Emp Length vii: | | | } 3 ss L
Mother Maiden | Recurring Date(2e |
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Log Forms. Appointments Files History Debes

Date User Category Entry

Sy32024 6:29 AM SYSTEM General Emailsentts XX Bhotmaileam -Subjece Cynthia XM Urgent Mamer Reminder
SHU2024 6:40 PM SYSTEM General Email sentto XXX @hormail.com - Subject Cynthia! XK Urgent Mater Reminder
AVpI7074 544 PM SYSTEM General Emailsentto XX™ @hotmaitcam - Subjece Cynthia (Oe Urgent Mamer Reminder
Arpor2024 5:45 PM coul Suatus- ANamac gerald

a/Pore24 S24 PM cout Status Contingency Sign Up changed to Call Center attempt 1

S/2R2028 3:54 PM cout Status Action: Call Center attempt 1

ai 2 Oe SYSTEM General Email sentra XX @hotmail.com - Subjece: IMPORTANT INFORMATION FROM YOUR LAW FIRM
Case 1:24-cv-00040-EAW-MJR Document 353-5 Filed 05/06/24 Page 3 of 4

Reports Senings e Joseph O'Donnell

Est. Total Bebe: $57,408.00

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Debt Settlement Program Details

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Mother Maiden

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Leg "Forms Appoinaments: Files History Debts

Date User Category Eny

ff 2 6:57 Al "SYSTEM General Emailsentto MO @gmail.com - Subject Charles XXXXXM Urgent Marer Reminder
4/25/2024 5:49 PM SYSTEM General Emailsentta MMM G@gmail.com- Subject: Charles MMXX Jrgent Maer Reminder
4I79/2024 5:48 PM ccul Srarus: no answer gerald
Se 4 ‘A cout Status Contingency Sign Up changed to Call Center atnempt 1

ARPW2024 5:48 PM ccut Status Action: Call Center attempt 1

att 4 10:52 PM SYSTEM General Email sentto XXX @gmail.com - Subject: IMPORTANT INFORMATION FROM YOUR LAW FIRM
4/12/2024 9:47 PM middleware_admin Status Bulk €-Sign changed to Important Info Email

4r5/2024 2:08 PM SYSTEM General Emailsertto: yyw @gmailcom- Subject Charles XXMM Urgent Mater Reminder
ap 11:37, AM Trickle Status Contingency Sign Up changed to To Contingency Call center

465/202 11:37 AM Trickle ‘Searus Trickle from Middleware Contingency - Contingency email sent
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eqn g: i SYSTEM Gereral Emailsertto  -WXN @hormailcom - Subject Jonathan KM Urgent Meter
